        Case 1:91-cr-00305-JFM               Document 543            Filed 05/22/09         Page 1 of 2



                                IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                            *
                                                    *
                 v.                                 * Criminal No. JFM-91-0305
                                                    * Civil No. JFM-00-985
                                                    *
CYRIACUS AKAS                                       *
                                                  *****

                                            MEMORANDUM


        Cyriacus Akas has filed a motion for a Writ of Coram Nobis. The motion will be

denied. 1 Akas was convicted (after a jury trial) of charges of conspiracy to import controlled

dangerous substance, conspiracy to distribute and possess with intent to distribute controlled

dangerous substances, and money laundering. He was sentenced to 235 months imprisonment

and 5 years of supervised release. The basis of his motion is that his counsel was ineffective in

advising him to concentrate on the criminal charges against him rather than the consequences of

a conviction. Akas asserts that as a result he did not plead guilty to a lesser charge than the

charges of which he was convicted, that he would not have faced deportation if he had pled to a

lesser charge, and that his counsel was ineffective in following the course he did. 2

        Coram Nobis “is limited to those cases where the errors were of the most fundamental

character, that is, such as rendered the proceeding itself irregular and invalid.” United States v.

Michaud, 925 F.2d 37, 39 (1st Cir. 1991). “[I]t is difficult to conceive of a situation in a federal




1
  Akas has also filed a motion for modification of the terms of his supervised release. Akas presently is in the
custody of ICE awaiting deportation. He has not alleged any manner in which the modification to the terms of his
supervised release would be of any benefit to him.
2
  Akas also points out that he has been a model prisoner. Akas’ apparent record in that regard is commendable but it
does not afford him any basis for relief in this action.
       Case 1:91-cr-00305-JFM         Document 543       Filed 05/22/09     Page 2 of 2



criminal case today where a writ of coram nobis would be necessary or appropriate.” Carlisle v.

United States, 517 U.S. 416, 429 (1996). Akas has alleged no such fundamental error here.

        A separate order effecting the rulings made in this memorandum is being entered

herewith.



DATE:       22, 2009                 /s/
                                            J. Frederick Motz
                                            United States District Judge
